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                      UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

WILLIAM BELL                                     §
                                                 §
vs.                                              §      No.: SA:18-CV-00243-OLG
                                                 §
PORTFOLIO RECOVERY ASSOCIATES,                   §
LLC                                              §

                             ORDER FOR DISMISSAL PAPERS

        On Thursday, June 10, 2021 counsel for plaintiff amd defendants advised the Court that
this case settled. The parties have not filed the closing paperwork in this case. Accordingly, it is
hereby ORDERED that:

       1) The parties shall submit a stipulation of dismissal or agreed judgment and any
       appropriate supporting documents on or before Tuesday, July 06, 2021. If the parties
       are unable to submit those documents by that date, Plaintiff should move for an
       extension of time to file the documents. Failure to so move shall result in a dismissal of
       this case from the Court's docket for failure to diligently prosecute.

       2) All pretrial deadlines in this case are hereby STAYED pending the submission of the
       parties' stipulation of dismissal or agreed judgment, and any appropriate supporting
       documents. These deadlines will be reinstated if the parties are unable to finalize their
       settlement of this case.

       3) Any motions pending in this action are DENIED, subject to reurging should
       settlement fail.

       No extensions of the above deadline shall be granted except upon a showing of good
       cause.

       It is so ORDERED.

       SIGNED this 11th day of June, 2021.


                                                  ______________________________
                                                  ORLANDO L. GARCIA
                                                  CHIEF U.S. DISTRICT JUDGE
